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                                                                                             1300 M ount Kemble Avenue
                                                                                             P.O. Box 2075
                                                                                             M orristown, NJ 07962-2075
                                                                                             T: 973.993.8100 | F: 973.425.0161
                                                                                             MDMC -LAW.COM



GEORGE C. JONES
Direct Dial: (973) 401-7145
gjones@mdmc-law.com


                                                                    December 30, 2021

VIA ECF
Clerk
United States District Court
 for the District of New Jersey
Clarkson S. Fisher Federal Building
 and U.S. Courthouse, Room 6000
402 E. State Street
Trenton, New Jersey 08608

          Re:        WinView Inc. v. DraftKings Inc. et al.
                     Civil Action No. 21-13405 (ZNQ) (DEA)

Dear Sir or Madam:

        This firm represents plaintiff, WinView Inc., in the referenced matter. Defendants have
filed a Motion to Dismiss Plaintiff’s Second Amended Complaint (ECF No. 29) that is currently
returnable January 18, 2022. Plaintiff hereby invokes the provisions of Local Civil Rule
7.1(d)(5) in order to adjourn this dispositive motion to the next regular motion date and to extend
the time within which to file its papers in opposition.

       Pursuant to the automatic extension of Local Civil Rule 7.1(d)(5), defendant’s Motion to
Dismiss is now returnable February 7, 2022. Plaintiff’s papers in opposition will now be due
January 24, 2022. Reply papers are due January 31, 2022.

                                                                     Respectfully yours,

                                            MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP




                                                                     GEORGE C. JONES

cc: All counsel (via ECF and e-mail)




McElroy, Deutsch, Mulvaney & Carpenter,   LLP
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